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          ORAL ARGUMENT SCHEDULED FOR MARCH 22, 2023
                       CASE NO. 22-5175


                                     IN THE

           United States Court of Appeals
             FOR THE DISTRICT OF COLUMBIA CIRCUIT



                  PROPERTY OF THE PEOPLE, INC., et al.,
                                            Plaintiffs-Appellants,
                                 v.

                           DEPARTMENT OF JUSTICE,
                                               Defendant-Appellee


              REPLY BRIEF FOR PLAINTIFFS-APPELLANTS
                 PROPERTY OF THE PEOPLE, INC., et al.


    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                   DISTRICT OF COLUMBIA


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                     GLOSSARY OF ABBREVIATIONS

FBI        Federal Bureau of Investigation

FOIA       Freedom of Information Act




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                          SUMMARY OF ARGUMENT

   The district court erred in granting summary judgment to the FBI in this FOIA

case because the documents at issue contain reasonably segregable, nonexempt

information. The grant of summary judgment was erroneous for three reasons.

   First, the district court applied a balancing test to determine whether the

nonexempt information in the documents was reasonably segregable. In defending

the district court’s decision, the government fails to show that this balancing test

has any support in this Court’s case law.

   Second, contrary to decisions of this Court, the district court failed to evaluate

and enter findings on the segregability of discrete units of information from each

document or category of document at issue. Instead, it weighed the burden

involved in segregating nonexempt information in all the documents at issue,

cumulatively, against the amount and meaningfulness of the nonexempt

information that would be revealed by disclosure. The government attempts to

defend the district court’s analysis by arguing that the same “segregability harm”

exists with respect to all of the documents at issue, but the nature of the harm that

would arise from disclosure is irrelevant to the questions that the district court had

to answer for each document or category of documents – whether there were

discrete pieces of nonexempt information that were intelligible and whether those




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pieces of information could be disclosed without unreasonably burdening the

agency.

   Third, the district court incorrectly concluded that it would be too burdensome

for the FBI to segregate and release nonexempt information, and that the

nonexempt information contains no or minimal informational value. To support the

district court’s burdensomeness conclusion, the government points only to few

generic, conclusory statements in the FBI’s declarations regarding the burden of

segregating nonexempt information. The government also does not suggest that

there is any record evidence to establish that the FBI met its obligation under FOIA

to take reasonable steps to disclose nonexempt material.

   As to the informational value of the nonexempt information, the district court

erred in evaluating the meaningfulness of the nonexempt information to the

requesters when the proper test is intelligibility. The government does not dispute

that intelligibility is the correct standard.

   In light of the district court’s application of an erroneous legal standard, this

Court should reverse and remand for the district court to apply the correct standard

in the first instance. However, should this Court conduct its own substantive

segregability analysis, it should apply a de novo standard of review and conclude

that there is reasonably segregable information in the documents at issue. This

conclusion is supported by the category-by-category analysis of the documents at


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issue set forth in the requesters’ opening brief, as well as the in camera

submissions before this Court. The government wholly fails to address these

substantive segregability arguments.

   In addition to erring in the grant of summary judgment, the district court also

abused its discretion by basing its decision on an in camera review of a

nonrepresentative sample of documents marked by the FBI to indicate the location

of nonexempt material. The government does not dispute that a proper sample

must contain a fair representation of the documents at issue. However, the

government concedes that the district court did not have before it a marked sample

of each of the 14 types of documents at issue here. Thus, the sample was not fairly

representative of the documents at issue and the district court abused its discretion

in relying on the sample.

                                   ARGUMENT

   I.     This Court does not need to determine the applicable standard of
          appellate review, but if it does reach the issue, it should apply a de
          novo standard to the district court’s segregability determinations.

   The government suggests that this Court should review the district court’s

segregability determinations under an abuse of discretion standard. (Appellee Br.

15), citing Sack v. U.S. Dep’t of Def., 823 F.3d 687, 695 (D.C. Cir. 2016). In Sack,

this Court observed that its “case law is not crystal clear on our standard of review

of a district court’s substantive segregability determination.” Id. This Court noted


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that in Powell v. United States Bureau of Prisons, 927 F.2d 1239, 1243 n.9 (D.C.

Cir. 1991), it “reject[ed] abuse of discretion standard when reviewing substantive

determination of segregability,” but in Boyd v. Criminal Division of the

Department of Justice, 475 F.3d 381, 391 (D.C. Cir. 2007), it “appl[ied] [an] abuse

of discretion standard to segregability decision.”

   In this case, this Court need not resolve which standard applies because the

district court applied an erroneous legal test – a balancing test – in conducting its

segregability analysis. Because “it is an abuse of discretion to apply the wrong

standard,” Hill v. Republic of Iraq, 328 F.3d 680, 683 (D.C. Cir. 2003), this Court

may remand for application of the proper legal standard without reaching a

decision as to the proper standard for appellate review of a district court’s

substantive determination of segregability.

   Should this Court nevertheless decide to review the district court’s substantive

determinations of segregability, it should apply a de novo standard of review. To

the extent that Powell and Boyd are inconsistent, Powell, as the earlier-decided

case, is binding. Sierra Club & Valley Watch, Inc. v. Jackson, 648 F.3d 848, 854

(D.C. Cir. 2011) (“Therefore, when a decision of one panel is inconsistent with the

decision of a prior panel, the norm is that the later decision, being in violation of

that fixed law, cannot prevail.”) Further, while this Court in Boyd purported to be

applying an abuse of discretion standard to the segregability issue, its analysis of


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the issue more closely resembled de novo review. 475 F.3d at 391. This Court

rejected the amicus’s argument (made in support of the appellant) on its merits

without mentioning, much less deferring to, any findings of the district court. Id.

   Moreover, this Court’s reference in Boyd to an abuse of discretion standard was

dicta. This Court’s holding on the segregability issue in Boyd did not depend on

the applicable standard of review, nor did this Court’s opinion in Boyd contain any

discussion or analysis of the standard of review on the issue of segregability. Id. In

contrast, this Court’s application of the de novo standard of review to the

segregability issue in Powell, 927 F.2d 1239, constituted the holding of the case.

The majority’s opinion in Powell explicitly rejected abuse of discretion as the

applicable standard for reviewing a district court’s segregability decision and

distinguished the dissent’s reliance on prior case law because that case law

involved an abuse of discretion standard. Id. 1243 at n.9.

   Finally, even if this Court was unconstrained by Powell, it should not adopt an

abuse of discretion standard for reviewing a district court’s substantive

segregability decision. Under FOIA, disclosure of segregable portions of a record

is a statutory mandate, not a decision left up to the discretion of the district court.

FOIA provides that “[a]ny reasonably segregable portion of a record shall be

provided to any person requesting such record after deletion of the portions which

are exempt under this subsection.” 5 U.S.C. § 552(b) (emphasis added). Further,


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considerations of the institutional roles of the district and appellate courts in FOIA

cases do not suggest any need for this Court to defer to the district court’s decision

on the segregability issue. As this Court has noted, where “we have the same

record before us as did the district court, we are just as capable of evaluating the

[agency’s] affidavits regarding segregability as is the court below.” Juarez v. DOJ,

518 F.3d 54, 60 (D.C. Cir. 2008). Applying an abuse of discretion standard would

also be inconsistent with the fact that, in deciding the segregability issue, this Court

is reviewing the merits of the district court’s grant of summary judgment. As the

government concedes, de novo review is the proper standard for appellate review

of the grant of a motion for summary judgment. (Appellee Br. 13), citing Porup v.

CIA, 997 F.3d 1224, 1231, 1238-39 (D.C. Cir. 2021).

   II.    The district court improperly applied a balancing test to determine
          what constitutes reasonably segregable information.

   The rule in this jurisdiction is “that non-exempt portions of a document must be

disclosed unless they are inextricably intertwined with exempt portions.” Mead

Data Cent., Inc. v. United States Dep’t of the Air Force, 566 F.2d 242, 260 (D.C.

Cir. 1977). Nonexempt information is “inextricably intertwined” with exempt

information when “excision of exempt information would impose significant costs

on the agency and produce an edited document with little informational value, may

the court allow an entire document to be withheld pursuant to a FOIA exemption.”

Neufeld v. IRS, 646 F.2d 661, 666 (D.C. Cir. 1981) (emphasis added).
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    The district court believed that whether nonexempt information is inextricably

intertwined1 with exempt information depends on a “balancing” between the

amount of meaningful, nonexempt information and the amount of government

resources that would need to be expended to segregate the nonexempt information.

(JA-370.) Under this balancing test, a greater showing of government burden can

justify withholding of information that a lesser showing of government burden

could not. (JA-370) (asserting that “when relatively few documents are at issue,

courts have ordered agencies to segregate out small information that on its face

appears to have little value.”)

    On appeal, the government attempts to justify the district court’s employment

of a balancing test by citing to Mead Data, 566 F.2d at 261 & n.55 and Yeager v.

Drug Enf’t Admin., 678 F.2d 315, 322 n.16 (D.C. Cir. 1982). Neither case,

however, held that district courts should apply an ad hoc balancing analysis to


1
  Authorities differ in the terms they use to describe the concepts involved in the
segregability analysis. The Attorney General’s Memorandum on the 1974
Amendments to the Freedom of Information Act, n.8, states, “The concept of
‘reasonably segregable’ should not be confused with the concept of ‘inextricably
intertwined[]’ . . . . ‘[I]nextricably intertwined’ material is exempt material,
whereas it is only nonexempt material that may or may not be ‘reasonably
segregable.’” However, in Johnson v. Exec. Office for United States Attys., 310
F.3d 771, 776 (D.C. Cir. 2002), this Court appears to have equated the concept of
“reasonably segregable” with the concept of “inextricably intertwined.” (“FOIA §
552(b) requires that even if some materials from the requested record are exempt
from disclosure, any ‘reasonably segregable’ information from those documents
must be disclosed after redaction of the exempt information unless the exempt
portions are ‘inextricably intertwined with exempt portions.’”)
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determine whether disclosure of nonexempt information is required in a particular

case.

   In Mead Data, this Court did use the phrase “strike a balance,” as the

government points out (Appellee Br. 14). However, this reference to “strik[ing] a

balance” was part of this Court’s discussion of the procedural issue of how detailed

the agency’s declaration must be, not the substantive issue of whether the

nonexempt material may ultimately be withheld. 566 F.2d at 261.There was no

discussion of balancing in Mead Data in connection with the latter. Id.

   In Yeager, this Court explained that in interpreting the “meaning of the term

‘reasonably’ when used in conjunction with ‘segregable’ . . . . [t]his court looks to

a combination of intelligibility and the extent of the burden in ‘editing’ or

‘segregating’ the nonexempt material.” 678 F.2d at 322 n.16. However, this

Court’s opinion in Yeager said nothing about balancing intelligibility and burden.

Instead, this Court was simply contrasting its own case law on the issue of

segregability with other authorities, as is evident by this Court’s citations. Whereas

this Court held in Simpson v. Vance, 648 F.2d 10, 17 (D.C. Cir. 1980) that the

nonexempt information was reasonably segregable where a review of the material

was not “as burdensome as the Department opines,” the other authorities cited by

this Court in Yeager did not consider burdensomeness at all. In none of the cases or

other authorities cited by this Court in Yeager was there any mention of balancing.


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   Aside from citing to Mead Data and Yeager, the government offers no other

defense for the district court’s use of a balancing test. The district court itself cited

no other binding authority as justification for employing a balancing test. Yet if the

proper segregability analysis involved a balancing test, it would surely be evident

in this Court’s opinions in cases where it has conducted a segregability analysis

itself in the first instance. However, in such cases, this Court has not applied a

balancing test for determining whether nonexempt information must be disclosed.

See e.g., Simpson, 648 F.2d at 17.

   The district court’s application of a balancing test was therefore erroneous and

this Court should remand this case for further proceedings. Stolt-Nielsen Transp.

Grp., 534 F.3d 728, 734 (D.C. Cir. 2008). On remand, the district court should

apply the segregability standard as articulated by this Court in Neufeld: “Only if

exempt and nonexempt information are ‘inextricably intertwined,’ such that the

excision of exempt information would impose significant costs on the agency and

produce an edited document with little informational value, may the court allow an

entire document to be withheld pursuant to a FOIA exemption.” 646 F.2d at 666

(emphasis added).




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   III.   Segregability must be analyzed on a document-by-document or
          category-by-category basis, not on the basis of the aggregate number
          of records at issue.

   The government does not dispute that the district court failed to conduct its

segregability analysis on a document-by-document or category-by-category basis.

(Appellee Br. 19-21.) Instead, the government defends the district court’s decision

on the grounds that “this Court has never required a district court to make separate

segregability findings with respect to every single document in a FOIA case, when

the same analysis applies equally to all the documents at issue.” (Appellee Br. 20.)

This argument, however, misconstrues the requesters’ position. The requesters

concede that there is no requirement that “in every case the court must

exhaustively catalog its segregability analysis as to every single document at

issue.” (Appellant Br. 10.) Requesters argue, instead, that the segregability analysis

in this case should have been conducted on a “category-by-category” basis.

(Appellant Br. 12.) The government does not contend that a district court may

fulfill its obligation to conduct a segregability analysis without making either

document-by-document or category-by-category determinations. Yet that is

exactly what the district court did here.

   It is also not the case that “the same analysis applies equally to all the

documents at issue.” (Appellee Br. 20.) The government points out that “that the

FBI had asserted roughly the same segregability harm with respect to all of the


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documents in the confidential-informant files.” (Appellee Br. 20.) However, the

nature of the “harm” from disclosure is not what is at issue in this case. The

requesters have argued that the district court’s global segregability analysis was

improper because “[t]his case involves different types of documents which vary

widely in the amount and distribution of nonexempt information throughout the

document,” (Appellant Br. 9) not because the agency failed to describe the harm

that would result from, inter alia, revealing the identity of confidential sources.

Indeed, even the district court recognized that the agency’s submissions, including

what the FBI referred to as a “segregability-harm analysis,” do not “specify as

required which parts of each document are exempt and which are not.” (JA-367.)

That is why “the Court determined that in camera review was appropriate.” (JA-

368.)

   The government also fails to meaningfully distinguish the case law from this

Court cited by the requesters on the issue of what segregability findings a district

court is required to make. The government attempts to distinguish Krikorian v.

Department of State, 984 F.2d 461 (D.C. Cir. 1993) by arguing that in “Krikorian,

this Court faulted the district court for failing to ‘make specific findings of

segregability,’ where the government’s declarations themselves suggested that the

sought-after documents ‘may well include segregable material.’ But the district

court here made precisely such findings of segregability.” (Appellee Br. 21.) The


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government’s selective editing of the quote from Krikorian is misleading. This

Court’s decision in Krikorian faulted the district court for failing to “make specific

findings of segregability regarding each of the withheld documents.” Id. at 467

(emphasis added). Similarly, the district court here did not make findings of

segregability regarding each of the withheld documents, and the government does

not contend that it did.

   The government also attempts to distinguish Armstrong v. Executive Office of

the President, 97 F.3d 575 (D.C. Cir. 1996) on the grounds that, “in Armstrong, the

Court determined, as the district court did here, that the government adequately

explained ‘with reasonable specificity why [the requested] documents [could not]

be further segregated,’ 97 F.3d at 578-80; see also JA 368-71.” (Appellee Br. 21)

(alterations in original). However, the district court in this case did not conclude

that government adequately explained with reasonable specificity why the

requested documents could not be further segregated. To the contrary, the district

court in this case explained that the “the Government simply claims that ‘the most

the FBI could segregate from the records at issue would be headings of standard

forms, which are not substantive and would not reveal anything of use to Plaintiff

about the responsive records.’ Fifth Seidel Decl., ¶ 6. From this statement alone,

the Government has not satisfied its obligation under Mead Data.” (JA-368.)




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   Despite the government’s attempt to obfuscate the issue, the requesters’

argument is straightforward: for each category of record, the district court was

required to determine which discrete pieces of information were reasonably

segregable and then enter its findings in its opinion. This Court’s case law amply

supports the requesters’ argument about what the district court was required to do.

In Krikorian and Schiller, this Court remanded for the district court to enter

findings on segregability – not writ large – but as to “each of the withheld

documents” and “passages” of documents, respectively. 984 F.2d at 467; Schiller

v. NLRB, 964 F.2d 1205, 1210 (D.C. Cir. 1992).

   In this case, it was particularly problematic that the district court made

segregability findings based on the entire collection of documents at issue, rather

than on a more granular basis, because of how the information within the records

was distributed. The segregability requirement of FOIA focuses on whether

discrete units of information can be separated and released. Billington v. United

States DOJ, 233 F.3d 581, 586 (D.C. Cir. 2000) (“This segregability requirement

limits claims of exemption to discrete units of information; to withhold an entire

document, all units of information in that document must fall within a statutory

exemption.”) Where a record consists of a single narrative statement, such as in an

email, it may be sufficient for the district court to state that there is exempt

information “throughout.” Armstrong, 97 F.3d at 578. Similarly, where a document


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serially lists intelligence points, it may be sufficient for the district court to state

that the document contains “one piece of specific intelligence after another.” Id. at

579. In this case, however, the records at issue are primarily forms divided up into

different fields involving a wide range of topics. (Supp. Appx 95-210.) Thus, the

generalized segregability analysis conducted by the district court in this case did

not establish that all units of information in the documents fall within a statutory

exemption.

   This Court has expounded at length upon the problems with generalized

segregability rulings by district courts. As this Court explained in Summers v. DOJ,

140 F.3d 1077, 1081 (D.C. Cir. 1998), “When the government has submitted such

an itemized list, but the district court has made only a generalized ruling, the

burden upon the district court has been (at least potentially) alleviated but the triple

burden on the appellate court has not. . . . The concerns of efficiency that apply to

the question of segregability vel non are relevant to all aspects of a summary

judgment upholding an agency’s claimed exemptions.” The difficulties in appellate

review that arise from the lack of specific findings by the district court are

compounded in a case, such as this one, where the district court was forced to rely

on in camera review of the documents because the government had not submitted

sufficiently detailed declarations. (JA-368) (“[T]he declarations do not describe

what proportion of information is not exempt, leaving the Court unable to


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determine how much non-exempt information the two files actually contain. . . . As

a result, the Court determined that in camera review was appropriate.”) For

example, the district court’s statement in this case that, “[h]aving reviewed a

sample of records, the Court agrees that most of the information they contain

cannot be disentangled from exempt information,” (JA-369) provides no

illumination to this Court as to what information can be disentangled from exempt

information and what information cannot be. Without either the district court or the

government providing an adequate description of how much nonexempt

information each document or category of documents contain and how that

material is distributed through the records, this Court is constrained to either

remand for specific findings or conduct its own in camera review of the records.

   IV.    Should this Court conduct its own segregability analysis, it must find
          that the record does not support a conclusion that all reasonably
          segregable, nonexempt information has been released.

   FOIA contains two segregability provisions. Under 5 U.S.C. § 552(b),

“reasonably segregable portion of a record shall be provided to any person

requesting such record after deletion of the portions which are exempt under this

subsection.” In this context, determining what information is “reasonably”

segregable involves an analysis of a “combination of intelligibility and the extent

of the burden in ‘editing’ or ‘segregating’ the nonexempt material.” Yeager, 678




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F.2d at 322 n.16. Performing that analysis de novo, this Court should find that the

FBI has not established that no nonexempt information has been withheld.

   The second segregability provision of FOIA is 5 U.S.C. § 552(a)(8)(A)(ii)(II),

under which agencies must “take reasonable steps necessary to segregate and

release nonexempt information[.]” Reviewing the record de novo, this Court

should conclude that the FBI has not established what further steps it would need

to take to segregate and release nonexempt information, much less that it would be

unreasonable for it to take those steps.

          A. The FBI did not establish that segregation would be burdensome.

   In this case, the FBI offered no evidence of the “extent of the burden in

‘editing’ or ‘segregating’ the nonexempt material,” Yeager, 678 F.2d at 322 n.16,

much less did it demonstrate that “excision of exempt information would impose

significant costs on the agency,” Neufeld, 646 F.2d at 666. The government

nevertheless defends the district court’s opinion, which relied solely on the volume

of records at issue in evaluating the extent of the burden involved in segregating

nonexempt material. (Appellee Br. 19) (“[T]he court also appropriately declined to

require the FBI to commit significant resources to processing hundreds of

documents[.]”) In support of this analysis, the government cites National Ass’n of

Criminal Def. Lawyers v. Department of Justice Exec. Office for U.S. Attorneys,

844 F.3d 246, 256-57 (D.C. Cir. 2016) for the proposition that “[t]his Court has


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previously declined to require agencies to employ finite resources to process

‘voluminous … records’ with negligible (if any) informational content.” (Appellee

Br. 18) (ellipsis in Appellee’s brief). However, the government does not accurately

describe this Court’s holding in NACDL. The full sentence containing the language

quoted by the government is: “In cases involving voluminous or lengthy work-

product records— the Blue Book is more than 500 pages in length— we think it

generally preferable for courts to make at least a preliminary assessment of the

feasibility of segregating non-exempt material.” Id. This Court ultimately

concluded that “[b]ecause the district court did not consider whether the Blue Book

contains reasonably segregable statements of the government's discovery policy,

we remand for the court to conduct that analysis in the ‘line-by-line’ or segregating

material ‘dispersed throughout the document[.]’” Id. at 257. Thus, it is simply

incorrect to say, as the government does, that NACDL is an example of a case in

which this Court declined to require an agency to employ finite resources to

process voluminous records.

   Moreover, the majority’s opinion in NACDL actually supports the requesters’

position regarding the burdensomeness issue. The majority observed that

“[m]aterial is more likely to be reasonably segregable in longer documents with

‘logically divisible sections.’ In such cases, courts presumably would examine

each section to determine if it might be amenable to segregation and disclosure.


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Such a determination also may be possible on the basis of the agency's Vaughn

index and affidavits, if those materials suggest that a lengthy work-product record

likely contains segregable material.” Id. at 257 (internal citation omitted, emphasis

added). By conducting its burdensomeness analysis based on the aggregate number

of documents at issue in the case, rather than the burdensomeness of segregating

the logically divisible sections for each category of document, the district court

acted contrary to this Court’s guidance in NACDL.

   Even if it was proper for the district court to have focused on the aggregate

number of documents at issue, rather than using a more granular analysis, the

record does not establish that editing and segregating nonexempt material would

have been burdensome. To assess the burdensomeness of segregability, this Court

requires that, “[i]n addition to a statement of its reasons, an agency should also

describe what proportion of the information in a document is non-exempt and how

that material is dispersed throughout the document.” Mead Data, 566 F.2d at 261.

These considerations determine the burden of proof that the agency must meet on

the issue of segregability. Id. (“[I]f a large proportion of the information in a

document is non-exempt, and it is distributed in logically related groupings, the

courts should require a high standard of proof for an agency claim that the burden

of separation justifies nondisclosure or that disclosure of the non-exempt material

would indirectly reveal the exempt information.”) Without such detail, litigants


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and judges are not well-positioned “to test the validity of the agency’s claim that

the non-exempt material is not segregable.” Id.

   In this case, the standard of proof is at least somewhat elevated because the

documents at issue are forms in which the non-exempt information falls into

logically related groupings. (Supp. Appx 94-204.) Regardless of where the bar is

set for the FBI to explain the burdensomeness of segregability, however, the

agency failed to meet it. The government points only to generic, boilerplate

statements from the FBI’s declarations that “further segregation of this intertwined

material would employ finite resources” (JA-154; JA-211). (Appellee Br. 26.)

However, it will always be the case that segregation employs an agency’s “finite

resources” – the critical issue is “the extent of the burden,” Yeager, 678 F.2d at 322

n.16. Without a sufficiently detailed declaration from the FBI, the district court

was not in a position to conclude that the agency had demonstrated that segregating

nonexempt information would be burdensome, and the requesters were not in a

position to test the agency’s claim of burdensomeness. Cf. Nation Magazine v.

United States Customs Serv., 71 F.3d 885, 892 (D.C. Cir. 1995) (“We are puzzled,

though, by the district court’s determination that searching for the 1981 Chadwick

memo would be too laborious, given that the files are indexed chronologically. On

remand, the district court should order Customs to search its reading files for this

document if it cannot provide sufficient explanation as to why such a search would


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be unreasonably burdensome.”) The FBI could have, for example, provided an

affidavit quantifying the number of hours or the cost that would be involved in

redacting the exempt information, as agencies have done in other cases. See e.g.,

Ayuda, Inc. v. FTC, 70 F. Supp. 3d 247, 275 (D.D.C. 2014) (“The FTC estimates

that completing the manual redaction process for the withheld data fields across all

twenty million Consumer Sentinel database complaints would take more than

8,000 hours.”) However, the agency chose not to present any such details.

   The government also fails to respond to the requesters’ argument that any

further burden on the FBI involved in segregating and releasing nonexempt

material would be minimal because the agency has already undertaken a line-by-

line segregability analysis. (Appellant Br. 32.) Since the government does not

explain why segregating for release the nonexempt information at issue here would

be burdensome, and no explanation appears in the record, this Court must conclude

that the agency has failed to establish that segregation would be burdensome.

         B. There are discrete units of intelligible, nonexempt information in
            the withheld records.

   The requesters set forth at length in their opening brief their arguments as to

which portions of the withheld records are reasonably segregable and the reasons

why. (Appellant Br. 16-31.) The government does not respond to the substance of

these arguments, instead questioning the value of the records to the requesters.

(Appellee Br. 24) (“[T]hey already have much of the information that would be

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disclosed[.]”) The fact that the requesters have copies of similar forms that are

blank or contain information about unrelated investigations does not diminish the

value of obtaining portions of the completed forms from the investigations at issue

in this case.

    More importantly, the question of whether a redacted document has

informational value depends on its “intelligibility.” Yeager, 678 F.2d at 322 n.16.

Even if the only information that remains on a redacted form is a revision date, that

information would be “intelligible.” The information contained in a form revision

date would allow the requesters, for example, to learn whether the FBI agents

investigating the case were using old or outdated forms. The government and the

district court may not think such a revelation is particularly meaningful, but this

Court has made clear that nonexempt material may not be withheld on the grounds

that “the redacted documents . . . would provide no meaningful information.” Stolt-

Nielsen, 534 F.3d at 734.

    Further, there is nonexempt, segregable information contained in the files at

issue which is much more substantive than form revision dates.2 (Appellant Br. 16-


2
  This Court may review the records at issue in camera to ascertain the nature of
the nonexempt information, despite the government’s argument that “Plaintiffs
identify no reason for this Court to independently review those documents in
camera[.]” (Appellee Br. 24.) The reason for this Court to conduct an in camera
review is the same reason that the district court conducted an in camera review –
the agency’s declarations did not adequately describe the amount and distribution
of the nonexempt information in the withheld documents. (JA-368.)
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31.) The government faults the requesters for making arguments about what

information is segregable, asserting that the requesters are “suggesting that various

exemptions were improperly applied[.]”3 (Appellee Br. 25.) To be clear, the

requesters do not dispute that each of the exemptions asserted by the FBI are

applicable to the corresponding documents in the agency’s Vaughn index. Instead,

the requesters’ category-by-category discussion of the documents at issue is

intended to set forth their position as to which portions of the records are not

inextricably intertwined with exempt information and the basis for their position.

(Appellant Br. 16-31.) For example, the requesters do not dispute that the FBI

properly asserted coded category b7D-5 (“Confidential Source File Numbers”)

(JA-264) to withhold the confidential source file numbers in Forms FD-5.

(Appellant Br. 17.) The requesters’ opening brief simply lists the fields on the form

that are not confidential source file numbers and are therefore not covered by the




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  In the final round of summary judgment briefing in the district court, the parties
agreed the only question that remained was “whether the information withheld in
file numbers 1166-LV-29911 and 137-NY-19967 contains segregable information
that should be released.” (JA-202.) This limitation, however, does not represent a
waiver of requesters’ right to present their segregability arguments with specificity,
nor does it represent a concession by the requesters that the FBI properly marked
its 20-document in camera submission (Supp.Appx205-10) to distinguish between
exempt and nonexempt portions. Indeed, the FBI had not even been asked by the
district court to submit the 20 documents in camera at the time the statement was
limiting briefing to segregability was made in the parties’ Joint Status Report.

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FBI’s invocation of b7D-5. (Appellant Br. 17-18.) The requesters’ opening brief

also directs this Court’s attention to an example Form FD-5 (JA-216) so that this

Court can see how the nonexempt fields (i.e., those other than confidential source

file numbers) are distributed throughout the document. Thus, the requesters’

arguments focus on how records such as Documents 17 and 19, for which the FBI

solely invokes b7D-5, (JA-270) contain reasonably segregable information, while

not asserting that the “exemptions were improperly applied,” as the government

claims (Appellee Br. 25).

         C. The record does not establish that the FBI took reasonable steps
            to segregate and release nonexempt information.

   The government does not argue that the record contains any information about

the further steps the FBI would need to take to segregate and release nonexempt

information. It claims only that the FBI’s declarations describe the documents at

issue, the difficulty of segregating information in those documents, and the harm

that would arise from disclosure. (Appellee Br. 26.) The government argues

instead that the requirement of 5 U.S.C. § 552(a)(8)(A)(ii)(II) that an agency “take

reasonable steps necessary to segregate and release nonexempt information” does

not require the FBI to explain the steps it would need to undertake to segregate and

release nonexempt information. In the government’s view, this provision of FOIA

did not impose any additional obligation on agencies and “merely re-affirmed

FOIA’s segregability requirement[.]” (Appellee Br. 25-26.)

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   The government’s interpretation of 5 U.S.C. § 552(a)(8)(A)(ii)(II) is

inconsistent with well-established canons of statutory construction. The

government’s reading of that provision would render it meaningless and

superfluous because 5 U.S.C. § 552(b) already requires agencies to release

reasonably segregable portions of records. However, it is a “longstanding canon of

statutory construction that terms in a statute should not be construed so as to render

any provision of that statute meaningless or superfluous.” Beck v. Prupis, 529 U.S.

494, 506 (2000). Further, “[w]hen Congress amends legislation, courts must

presume it intends [the change] to have real and substantial effect.” Ross v. Blake,

578 U.S. 632, 641-42 (2016) (second alteration in original, internal quotation

marks omitted). The government’s argument that in amending FOIA to add the

provision codified at 5 U.S.C. § 552(a)(8)(A)(ii)(II), Congress “merely re-affirmed

FOIA’s segregability requirement,” (Appellee Br. 25-26) is inconsistent with this

principle.

   The government also ignores the plain language of 5 U.S.C. §

552(a)(8)(A)(ii)(II), which states that an agency must “take reasonable steps

necessary to segregate and release nonexempt information[.]” While this provision

does not explicitly require that an agency submit a declaration stating what further

steps must be taken to segregate and release nonexempt information, a court has no

way to determine whether these steps are “reasonable” without evidence, in the


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form of a declaration or otherwise, outline what these steps are and the burden

associated with them. Such evidence is absence in this case and therefore the

district court’s decision cannot be affirmed.

   V.    The requesters did not waive their argument that the government’s
         sample was nonrepresentative, and the sample was in fact
         nonrepresentative.

   In their opening brief, the requesters argue that “[t]he district court abused its

discretion by failing to ensure that the sampling of records in camera was

representative of the documents at issue as a whole.” (Appellant Br. 12.) The

government responds that “plaintiffs waived any challenge to the court’s in camera

review procedures by failing to object at any point in district court” (Appellee Br.

21.) The requesters did not waive their argument as to the district court’s order

regarding the 20-document in camera review procedure, however, because the

district court’s order directing the FBI to submit 20 marked documents for in

camera review occurred after briefing on the parties’ cross-motions for summary

judgment was complete (JA-16-JA-17), and therefore the requesters had no

opportunity to object. Under Rule 46, “Failing to object does not prejudice a party

who had no opportunity to do so when the ruling or order was made.” Fed. R. Civ.

Pro. Rule 46. Further, only eight business days elapsed between the time district

court issued its order regrading the 20-document in camera review procedure and

the time the district court granted the government’s motion for summary judgment.


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(JA-16-JA-17.) Although the requesters could theoretically have filed a motion for

leave to file a response to the court’s order after the close of briefing and before the

district court entered judgment, the same could be said of a party who fails to seek

leave to file a surreply in response to a new argument raised by an opponent in a

reply brief. Yet this Court has described a new argument raised in a reply brief as

“depriving [the party] of any opportunity to respond.” FTC v. GlaxoSmithKline,

294 F.3d 141, 146 (D.C. Cir. 2002).

   On the merits of the issue, the government argues that the district court acted

“well within” its discretion in deciding how to conduct the in camera review

(Appellee Br. 23) and that “the FBI is entitled to a presumption that the 20-

document sample provided for the district court’s in camera review accurately

represented all of the contested documents.” (Appellee Br. 23). However, the

government does not contest the requesters’ argument that the sampling must be

“sufficiently representative” to pass muster under this Court’s case law (Appellant

Br. 14). While the government claims to be entitled to a presumption that the

sample it provided was representative, the question of entitlement to a presumption

is now moot because the government concedes that not all of the types of

documents in the files at issue were represented in the 20-document sample.

(Appellee Br. 23-24.) Despite this concession, the government does not explain

how the district court could have rendered a conclusion as to the feasibility of


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segregating logical groupings of nonexempt information from each type of

document without knowing which portions of the documents the FBI considered

exempt and which portions it considered nonexempt. Since the district court found

the FBI’s declarations insufficient to establish which portions of the records were

nonexempt, it abused its discretion by simultaneously approving the withholding in

full of the document types that were not part of the 20-document in camera

sample.


                                 CONCLUSION

   For the foregoing reasons, this Court should remand for the district court to

order the FBI to release segregable, non-exempt information from files 137-NY-

19967 and 137-22152.


                                         Respectfully Submitted,

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   I hereby certify that on January 27, 2023, I electronically filed the foregoing

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